                           Case 1:23-cv-01016-TJK Document 1 Filed 04/12/23 Page 1 of 1


                                                                                                                        CO-386
                                                                                                                         10/2018



                                      United States District Court
                                     For the District of Columbia
CHILDREN'S HEALTH DEFENSE,
852 Franklin Ave. Suite 511
Franklin Lakes, NJ 07417




                                       Plaintiff              Civil Action No.    1:23-CV-01016
                              vs

NATIONAL INSTITUTES OF HEALTH
9000 Rockville Pike
Bethesda, MD 20892



                                      Defendant



                                                   CERTIFICATE RULE LCvR 26.1


1, the undersigned, counsel ofrecord for Cilildren 8 Health Defense                      certify that tothe best ofmy knowledge and

belief, the following are parent companies, subsidiaries oraffiliates of Children's Health Defense                      which have

any outstanding securities in the hands of the public:

    NONE




These representations are made in order that judges of this court may determine the need for recusai.



                                                               Attorney otRecord




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